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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: AME CHURCH RETIREMENT )                               MDL NO:
       PLAN LITIGATION       )
                             )


                    PLAINTIFF REV. PEARCE EWING’S
       BRIEF IN SUPPORT OF MOTION FOR TRANSFER OF ACTIONS
 PURSUANT TO 28 U.S.C. § 1407 TO THE UNITED STATES DISTRICT COURT FOR
              THE WESTERN DISTRICT OF TENNESSEE FOR
      COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

       Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Plaintiff Rev. Pearce Ewing (“Movant”) respectfully submits this brief

in support of his Motion for Transfer of Actions Pursuant to 28 U.S.C. § 1407 to the United States

District Court for the Western District of Tennessee for Coordinated or Consolidated Pretrial

Proceedings.

       Movant seeks transfer and assignment of all pending Actions against Newport Group, Inc.,

Symetra Financial Corporation, Rev. Jerome V. Harris, and the African Methodist Episcopal

Church, Inc. (“AMEC”) related to the recent financial scandal surrounding AMEC and AMEC’s

Retirement Fund identified in numerous cases filed nationwide and as listed in the Schedule of

Actions, as well as any subsequently filed actions involving similar facts or claims (collectively

“Actions”). There are presently no fewer than five substantially similar Actions filed by plaintiffs

on behalf of proposed classes in at least four different federal district courts alleging similar

wrongful conduct by the Defendants and other related parties. Movant is Plaintiff in the first-filed

federal case, which was filed in the United States District Court for the Western District of

Tennessee. Importantly here, that District encompasses the headquarters location of AMEC’s

Department of Retirement Services, which oversees AMEC’s retirement fund (the “Fund”).
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        All Actions involve common questions of law and fact arising from the mismanagement

and improper oversight of the Fund, harming AMEC’s ministers and other employees, who

recently learned that over $90 million dollars is missing from the Fund; that all disbursements are

paused without notice and without indication of when they will be reinstated; and that their career

retirement savings are in serious jeopardy. The current Actions seek redress for these individuals,

including seeking to restore the Fund to the amount that it should be but for the actions of

Defendants, how to restore the fund, and who of the Defendants is liable for the restoration.

        Accordingly, Movant seeks the consolidation and transfer of the Actions to the Western

District of Tennessee, where AMEC’s Retirement Fund Department is headquartered, the first

filed Action is venued, the majority of witnesses are located, and substantial acts in furtherance of

Defendants’ alleged improper conduct occurred. Movant also seeks consolidation and transfer

because all of the Actions filed against Defendants contain common allegations and common

questions of fact. Moreover, because of the widespread nature of Defendants’ breaches and the

likely impact to individuals in many, if not all, of the 50 states, tag-along cases are virtually certain

to be filed in the future.

I.      BACKGROUND

        These Actions arise out of the breaches of fiduciary duties and negligent conduct of the

Defendants in managing the AMEC Retirement Fund of the plaintiffs and putative class members.

The plaintiffs in these Actions are ministers, elders, and other employees of AMEC who have lost

retirement funds that were invested in the Fund. The significance of Defendants’ actions is further

underscored by the terms of the plaintiffs’ employment because AMEC required that a percentage

of the plaintiffs’ income be paid into the Fund. Put another way, Movant and other putative class

members had no choice but to contribute. Further, many plaintiffs and class members chose to



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invest an additional specified portion of their income each pay period into the Fund, thereby

providing Defendants more monies.

       Defendants directly owed duties to plaintiffs, including fiduciary duties, to conduct due

diligence, monitor investments, and oversee and audit the Fund and its trustee(s) or managers, in

order to assure that that the Fund was protected and that plaintiffs had access to their retirement

funds when it came time for appropriate payments, withdrawals, or rollovers. The Defendants had

the power to monitor, review, dismiss, appoint, and control the operations of various trustee(s)

whose responsibility it was to act in the best interests of the plaintiffs. But, as now known, even

though Defendants oversaw and controlled the investments in the Fund, they did not adequately

monitor or oversee the Fund. The Defendants in this action are each responsible for the fund’s

massive losses and the resulting harm to Movant and the putative class members.

       A. AME Church and Its Retirement Plan

       The African Methodist Episcopal denomination grew out of the Free African Society,

which was established in Philadelphia in 1787. https://www.ame-church.com/our-church/our-

history/ (last accessed April 2, 2022). Today, AMEC’s membership is spread across 20 Episcopal

Districts in 39 countries on 5 continents. Id. AMEC’s work is administered by 21 active bishops

and nine General Officers who manage the Church’s departments, which include its Department

of Retirement Services. Id.

       Beginning in the mid-1960s, AMEC provided a retirement plan for its eligible employees.

The plan required AMEC’s ministers, bishops, officers, elders, and other employees of AMEC or

AMEC-related educational institutions or programs to enroll. The plan was funded by a percentage

of each eligible employee’s annual income and additional elective contributions made by eligible

employees. Over time, the retirement plan evolved and by the mid-1990s, the plan was renamed



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the “African Methodist Episcopal Church Retirement Plan” (the “Plan”). AMEC’s Department of

Retirement Services was responsible for overseeing and administering the fund, and it retained

numerous third parties over the years to assist with those responsibilities. AMEC and the third-

parties engaged to help administer the program regularly sent statements to eligible employees

with funds in the retirement program. In June 2021, AMEC represented that the retirement fund

had over $120,000,000 in assets. However, just weeks later it notified plan participants that

distributions were being frozen for the time being due to “irregularities” that had been uncovered.1

Although the details are still murky, AMEC apparently has been unable to locate approximately

70% of the funds that were supposedly in the retirement fund.2

         B. The Current Actions

         As a result of the funds missing from the AMEC retirement fund, five separate class action

lawsuits have been filed across the United States in the last month. More are likely to follow. While

the claims differ slightly (and immaterially) from complaint to complaint, each Action identifies

substantially the same defendants – the Newport Group, Inc., Symetra Financial Corporation, Rev.

Harris (the chair of the AME Department of Retirement Services from 2002-2021), AMEC, and

various bishops within AMEC that had oversight responsibility for the retirement program at

various points in time,3 alleges materially identical facts, and seeks certification of nationwide


1
  https://www.wsj.com/articles/ame-church-halts-retiree-payouts-amid-probe-into-missing-funds-11646913600
2
  https://richmondfreepress.com/news/2022/mar/17/report-ame-church-suspends-payments-retirees-inves/
3
  Jackson v. Newport Group, Inc., et al., identified the same defendants as Ewing v. Newport Group, Inc., et al. See
Jackson v. Newport Group, Inc., et al., No. 2:22-cv-02174, Dkt. No. 1 (W.D. Tenn. Mar. 22, 2022). Another pending
action names additional defendants including specific individuals related to AMEC and departments within AMEC:
Bishop Samuel L. Green, Sr., African Methodist Episcopal Church Ministerial Retirement Annuity Plan, African
Methodist Episcopal Church Department of Retirement Services, General Board of the African Methodist Episcopal
Church, and Council of Bishops of the African Methodist Episcopal Church. See Alexander v. Harris, et al., No. 8:22-
cv-00707-TJS, Dkt. No. 1 (S.D. Md. Mar. 22, 2022). The fourth filed case includes all of the same defendants as
Ewing v. Newport Group, Inc., et al., and also includes Bishop Samuel L. Green. Russ et. al v. Newport Group, Inc.,
et al., No. 3:22-cv-00375, Dkt. No. 1 (M.D. Fla. March 31, 2022). The fifth filed case includes all of the same
defendants as Ewing, and also adds several additional bishops, and two additional entities that purportedly were
administrators of the AME retirement plan at certain points in time. Boyd v. Newport Group, Inc., et. al, No. 3-22-cv-
00179, Dkt. No. 1 (E.D.Va. April 1, 2022).


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and/or statewide classes comprised of ministers and other AME employees who have lost

retirement funds that were invested in the Fund.

        Consistent with the Panel’s decisions in similar breach of fiduciary duty litigation, Plaintiff

seeks transfer of the Actions to the United States District Court for the Western District of

Tennessee for coordinated or consolidated pretrial proceedings. Satisfying the standard set forth

in 28 U.S.C. § 1407, all of the Actions filed involving AME’s retirement fund contain common

questions of fact and the convenience of parties and witnesses and promotion of just and efficient

conduct of the actions is supported by transfer to the Western District of Tennessee. Lastly, this

situation has received a great deal of publicity4 and class members are still learning about the

financial impact from AMEC’s actions, further increasing the likelihood that tag-along cases will

be filed in the near future.

II.     LEGAL STANDARD

        Transfer is appropriate when actions pending in different judicial districts involve similar

questions of fact such that coordinating or consolidating pretrial proceedings would “promote the

just and efficient conduct of such actions.” 28 U.S.C. § 1407. In relevant part, Section 1407

provides as follows:

        When civil actions involving one or more common questions of fact are pending in
        different districts, such actions may be transferred to any district for coordinated or
        consolidated pretrial proceedings. Such transfers shall be made by the judicial panel
        on multidistrict litigation authorized by this section upon its determination that
        transfers for such proceedings will be for the convenience of parties and witnesses
        and will promote the just and efficient conduct of such actions.

Id.; see also In re Nifedipine, 266 F. Supp. 2d 1382, 1382 (J.P.M.L. 2003).



4
  Numerous news outlets have published articles regarding AMEC’s halting of retirement fund payouts and its
investigation into the missing funds. See, e.g, AME Church Halts Retiree Payouts Amid Probe Into Missing Funds,
Wall Street Journal (last accessed Apr. 1, 2022), https://www.wsj.com/articles/ame-church-halts-retiree-payouts-
amid-probe-into-missing-funds-11646913600.


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III.    ARGUMENT

        The Actions, and the tag-along actions that likely will follow, are appropriate for Section

1407 transfer because they involve common issues and transfer will benefit the parties, witnesses,

and courts. Transfer to that District is further proper because AMEC’s Department of Retirement

Services’ is headquartered in the Western District of Tennessee, many key witnesses and

documents are no doubt located in that jurisdiction, and that District does not currently have any

MDLs.

        A.     Transfer Is Appropriate Under 28 U.S.C § 1407.

        “The purpose of § 1407. . . is to eliminate the potential for conflicting contemporaneous

pretrial rulings by coordinate district and appellate courts in multidistrict related civil actions.” In

re Plumbing Fixture Cases, 298 F. Supp. 484, 491-92 (J.P.M.L. 1968). Centralization is meant to

“eliminate duplicative discovery; prevent inconsistent pretrial rulings; and conserve the resources

of the parties, their counsel, and the judiciary.” In re Ethicon Physiomesh Flexible Composite

Hernia Mesh Products Liability Litig., 254 F. Supp. 3d 1381, 1382 (J.P.M.L. 2017).

        Pretrial transfer under section 1407 is appropriate and necessary here. The Actions involve

similar facts, Defendants, proposed classes and proposed relief. Absent transfer, the parties will

incur excessive costs due to duplicative discovery and will face the risk of inconsistent rulings on

a variety of matters, and District courts will unnecessarily expend judicial resources.

        Further, the Panel has routinely transferred for coordination similar breach of fiduciary

duty cases related to pension funds and retirement plans. See, e.g., In re Meridian Funds Grp. Sec.

& Emp. Ret. Income Sec. Act (ERISA) Litig., 645 F. Supp. 2d 1360, 1361 (J.P.M.L. 2009)

(consolidating four actions where “[a]ll actions share factual questions relating to whether

defendants … breached their fiduciary duties to plaintiffs with respect to investments[.]”); In re H



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& R Block, Inc., Express IRA Mktg. Litig., 444 F. Supp. 2d 1339, 1340 (J.P.M.L. 2006) (“All

actions contain allegations that defendants breached fiduciary duties[.]”); In re Standard Auto.

Corp. Retiree Benefits “ERISA” Litig., 431 F. Supp. 2d 1357, 1358 (J.P.M.L. 2006) (consolidating

two actions where “[c]laims in both actions arise out of allegations of breach of fiduciary

duties[.]”)

        As these Actions share common factual allegations and causes of actions that arise from

the same financial mismanagement of the Retirement Fund by AMEC and others, transfer for

coordinated and consolidated pretrial proceedings is appropriate.

              1.       The Actions Involve Common Factual Issues.

        Each of the constituent Actions will require determinations of whether the Defendants

breached their fiduciary duties to the ministers and other AMEC employees who contributed to

the Retirement Fund and whether Defendants were negligent in managing and overseeing the

Retirement Fund.

        Common questions predominate in the Actions, including:

                   •   Whether Defendants breached their fiduciary duties;

                   •   Whether the Defendants were negligent in failing to perform adequate
                       due diligence in relation to the Fund;

                   •   Whether class members have been injured by Defendants’ challenged
                       conduct;

                   •   Whether plaintiffs and putative class members are entitled to damages,
                       treble damages, civil penalties, punitive damages, and/or injunctive
                       relief;

                   •   Whether plaintiffs and putative class members are entitled to injunctive
                       relief, including an accounting; and

                   •   Whether class certification is appropriate.




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Adjudicating these and other common issues in a single transferee district will benefit the Parties

and witnesses, as well as promote judicial efficiency by allowing a single court to coordinate the

pretrial proceedings governing claims with these issues.

           2.        Transfer Will Serve the Convenience Of The Parties and Witnesses and
                     Will Promote the Just and Efficient Conduct of the Actions.

       The following four factors govern whether transfer will facilitate the convenience of the

parties and promote the just and efficient conduct of the transferred cases:

                1.      The elimination of duplicative discovery;

                2.      The avoidance of conflicting rules and schedules;

                3.      The reduction of litigation cost; and,

                4.      The conservation of the time and effort of the parties, attorneys, witnesses,

                        and courts.

Manual for Complex Litigation (Fourth), § 20.131, at 219. These factors weigh in favor of transfer.

                a.      Transfer Will Eliminate Duplicative Discovery.

       Because each of the Actions is based upon the same nucleus of operative facts, plaintiffs

in each of the Actions likely will seek similar and overlapping discovery. See In re Auto Body

Shop, 2014 WL 3908000, at *1-2 (J.P.M.L. 2014) (noting that transfer was appropriate to eliminate

duplicative discovery when the actions shared a common factual core). The Actions are also likely

to involve complicated issues regarding the management of the Retirement Fund and

corresponding investments, which will involve substantial expert discovery and Daubert briefing

and hearings. That fact too militates in favor of transfer. See, e.g., In re Natrol, Inc.

Glucosamine/Chondroitin, 2014 WL 2616783, at *1 (J.P.M.L. 2014). Similarly, plaintiffs in each

of the Actions are likely to seek to depose many of the same of Defendants’ witnesses, including

high-ranking employees of each Defendant entity, as well as others. This factor likewise favors


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centralization. See, e.g., In re Auto Body Shop, 2014 WL 3908000, at *1 (transfer to a single judge

was beneficial because he or she could “structure pretrial proceedings to accommodate all parties’

legitimate discovery needs while ensuring that common witnesses are not subjected to duplicative

discovery demands”); In re Enfamil Lipil, 764 F. Supp. 2d 1356, 1357 (J.P.M.L. 2011)

(“Centralizing the actions will allow for the efficient resolution of common issues and prevent

unnecessary or duplicative pretrial burdens from being placed on the common parties and

witnesses.”).

         Given the similarity of the Actions and the potential for duplicative discovery, transfer

would inevitably conserve the parties’ resources. See, e.g., In re Air Crash at Dallas/Fort Worth

Airport, 623 F. Supp. 634, 635 (J.P.M.L. 1985). It would also conserve judicial resources, as

transfer would assign responsibility for overseeing a pretrial plan to one judge rather than

numerous judges. See, e.g., In re Pineapple Antitrust Litig., 342 F. Supp. 2d 1348, 1349 (J.P.M.L.

2004).

                b.       Transfer will Avoid Conflicting Rules and Schedules.

         The Panel considers the possibility of inconsistent rulings on pretrial issues because of the

possible res judicata or collateral estoppel effects on other cases. See In re Enron Securities

Derivative & ERISA Litig., 196 F. Supp. 2d 1375, 1376 (J.P.M.L. 2002) (granting a transfer in part

to prevent inconsistent pretrial rulings, particularly with respect to questions of class certification).

         Pretrial procedures will necessarily involve motions to dismiss, discovery motions,

Daubert motions, and class certification motions. Conflicting rulings on these motions will cause

unnecessary confusion and duplicative effort. Further, although only four district courts have cases

now, given the sheer number of ministers and other church employees (approximately 5,000)5


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  https://www.phillytrib.com/news/across_america/ame-church-suspends-retiree-payments-amid-
investigation/article_61b9315d-4e15-5361-80a7-4ba6a69eaa9d.html


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affected by AMEC’s mismanagement of the Pension Fund in all parts of the country, there will

likely be additional, similar cases filed throughout the United States.

        Section 1407 transfer is the most efficient way to ensure that pretrial processes across all

of these cases are uniformly litigated and adjudicated, thereby avoiding the situation where

multiple courts reach contrary conclusions and potentially subject litigants to conflicting

responsibilities and obligations.

                c.      Transfer will Reduce Litigation Costs and Conserve Resources of the
                        Courts and the Parties.

        Each of the Actions, and the tag-along actions likely to follow, will benefit from having a

single transferee judge address and adjudicate issues related to discovery and pretrial motion

practice. If the Actions are not transferred and consolidated, the same issues – including motions

to dismiss, discovery motions, and summary judgment motions -- will likely be litigated in

multiple courts. Additionally, absent coordination, duplicative depositions and other discovery of

Defendants and third-parties would be necessary.

        B.      The Western District of Tennessee Is the Most Appropriate Transferee
                Forum.

        In selecting a transferee forum, the Panel appropriate considers the location of common

defendants, relevant witnesses, and documentary evidence See, e.g., In re Equifax, Inc., MDL No.

2800, 2017 WL 6031680, at *2 (J.P.M.L. Dec. 6, 2017) (transferring actions to the district where

the main defendant is headquartered as “relevant documents and witnesses thus likely will be

found there.”); In re Wells Fargo Auto Ins. Mktg. & Sales Practices Litig., MDL No. 2797, 2017

WL 4737285, at *1 (J.P.M.L. Oct. 19, 2017) (“it is alleged that key entities and individuals with

direct responsibility for the alleged conduct in this litigation are located in [the transferee] district

and, therefore, relevant documents and witnesses may be located there.”); In re Google Inc. St.



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View Elec. Commc’ns Litig., 733 F. Supp. 2d 1381, 1382 (J.P.M.L. 2010) (transferring cases to

Northern District of California where “[t]he sole defendant, Google, is headquartered there, and

most relevant documents and witnesses are likely located there.”); In re Sears, Roebuck & Co.

Tools Mktg. & Sales Practices Litig., 381 F. Supp. 2d 1383, 1384 (J.P.M.L. 2005) (“relevant

discovery will likely be found within this district, because Sears’s corporate headquarters and

many of its documents and witnesses are located there”); St. Jude Med., Inc., Silzone Heart Valves

Products Liab. Litig., MDL No. 1396, 2001 WL 36292052, at *2 (J.P.M.L. Apr. 18, 2001)

(transferring litigation to district because “as the situs of the headquarters of the sole defendant in

all actions, the district is likely to be a substantial source of witnesses and documents subject to

discovery”).

       These factors strongly militate in favor of transfer to the Western District of Tennessee.

AMEC’s Department of Retirement Services is headquartered in Memphis, Tennessee; as such,

its employees and records will be a substantial source of witnesses and documents subject to

discovery in this litigation. See, e.g., In re Allura Fiber Cement Siding, Prod. Liability Litig., 366

F. Supp. 3d 1365 (J.P.M.L. 2019) (“We conclude that the District of South Carolina is an

appropriate transferee forum. One action on the motion is pending there, and the district is

conveniently located for a number of parties and potential witnesses in the southeastern region of

the country.”).

       The Western District of Tennessee has the first and second-filed cases. And, importantly,

that District has none of the currently existing 183 MDLs. See Pending MDLS by District, Judicial

Panel on Multidistrict Litigation,

https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-March-16-

2022.pdf (last visited Apr. 1, 2022). The lack of MDLs in that District supports transfer there and



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assignment to Judge Fowlkes because transfer would not burden that District nor Judge Fowlkes.

See e.g., In re Teflon Products Liab. Litig., 416 F. Supp. 2d 1364, 1365 (J.P.M.L. 2006) (MDL

centralization in Southern District of Iowa because it was a district that did not have “any other

multidistrict litigation dockets, and … enjoys general docket conditions permitting the panel to

effect the Section 1407 assignment to a court with the present resources to devote to the pretrial

matters that this docket is likely to require.”); In re Horizon Organic Milk Plus DHA Omega-3

Marketing and Sales Practices Litig., 844 F. Supp. 2d 1380, 1381 (J.P.M.L. 2012) (MDL

centralization in Southern District of Florida because district presiding over fewer MDL dockets

than other proposed districts); In re Panacryl Sutures Products Liab. Litig., 574 F. Supp. 2d 1375,

1376 (J.P.M.L. 2008) (MDL Centralization in the Eastern District of North Carolina because “in

the past, it has been underutilized as a transferee district.”); In re Fedex Group Package System,

Inc., Employment Practices Litig. (No. II), 381 F. Supp. 2d 1380, 1382 (J.P.M.L. 2005)

(“[C]entralization in this district permits the Panel to effect the Section 1407 assignment to a

transferee district that is not currently assigned to other multidistrict litigation dockets and to a

transferee judge who can steer this litigation on a steady and expeditious course.”).

           The Western District of Tennessee also serves the convenience of the Parties because it is

centrally located and can be reached from any part of the country. Memphis International Airport

is only 11 miles from the courthouse in the Western District of Tennessee and it has daily direct

flights to major domestic hubs and destinations.6

IV.        CONCLUSION

           For the above-stated reasons, Movant respectfully requests that the Panel transfer the

Actions set forth on the attached Schedule and all subsequently filed tag-along cases for



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    https://flymemphis.com/nonstop-destinations/


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coordinated or consolidated pretrial proceedings in the United States District Court for the Western

District of Tennessee.



Dated: April 2, 2022

                                     Respectfully submitted,

                                      /s/ Gregory F. Coleman
                                      Gregory F. Coleman
                                      MILBERG COLEMAN BRYSON
                                      PHILLIPS GROSSMAN, PLLC
                                      800 South Gay Street, Suite 1100
                                      Knoxville, TN 37929
                                      Tel: 865-247-0080
                                      gcoleman@milberg.com

                                      Matthew E. Lee
                                      Jeremy R. Williams
                                      Sarah J. Spangenburg
                                      MILBERG COLEMAN BRYSON
                                      PHILLIPS GROSSMAN, PLLC
                                      900 W. Morgan Street
                                      Raleigh, NC 27603
                                      Tel: 919-600-5000
                                      Fax: 919-600-5035
                                      mlee@milberg.com
                                      jwilliams@milberg.com
                                      sspangenburg@milberg.com


                                      Counsel for Movant Rev. Pearce Ewing




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